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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-11-354 LKK
12             Plaintiff,             )
                                      )   ORDER CONTINUING STATUS
13                                    )   CONFERENCE
          v.                          )
14                                    )
     EVARISTO ARREOLA VENTURA,        )
15                                    )
               Defendant.             )
16                                    )
17
18        This matter came before the Court for a status conference on
19   June 11, 2013, at 9:15 a.m.     The United States was represented by
20   Assistant United States Attorney Todd D. Leras.         Defendant
21   Evaristo Arreola Ventura was personally present, and represented
22   by Attorney Dina Santos.    Court interpreter Yolanda Riley-Portal
23   assisted the defendant.
24        Dina Santos informed the Court that she is conducting
25   additional investigation in the case and had submitted a request
26   to the Court for a medical evaluation of the defendant.          She
27   requested that the matter be put over for further status
28   conference to July 30, 2013, at 9:15 a.m.       She further requested

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 1   an exclusion of time for attorney preparation to July 30.                The
 2   government agreed with the request for exclusion of time.
 3           Based on the representations of the parties, the Court
 4   further ordered that time be excluded under 18 U.S.C.
 5   § 3161(h)(7)(B)(iv); Local Code T4 (reasonable time to prepare
 6   and continuity of counsel).        The Court directed government
 7   counsel to prepare a formal order.
 8           IT IS HEREBY ORDERED:
 9           1.   A status conference in this matter is set for July 30,
10   2013, at 9:15 a.m.;
11           2.   Based on defense counsel’s representations, the Court
12   finds that the ends of justice outweigh the best interest of the
13   public and the Defendant in a speedy trial.           Accordingly, time
14   under the Speedy Trial Act shall be excluded through July 30,
15   2013.
16           IT IS SO ORDERED
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18   Date: June 14, 2013
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